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                    IN THE UNITED STATES DISTRICT COURT FOR
                     THE WESTERN DISTRICT OF PENNSYLVANIA

________________________________________


STEWART ABRAMSON, individually and on
behalf of a class of all persons and entities
similarly situated,

                Plaintiff
                                                                         Case No. 21-1322
vs.
                                                         COMPLAINT-CLASS ACTION
JOSCO ENERGY USA, LLC

               Defendant.



                               CLASS ACTION COMPLAINT

                                    Preliminary Statement

      1.       As the Supreme Court explained, “Americans passionately disagree about many

      things. But they are largely united in their disdain for robocalls. The Federal Government

      receives a staggering number of complaints about robocalls—3.7 million complaints in

      2019 alone. The States likewise field a constant barrage of complaints. For nearly 30

      years, the people’s representatives in Congress have been fighting back. As relevant here,

      the Telephone Consumer Protection Act of 1991, known as the TCPA, generally prohibits

      robocalls to cell phones and home phones.” Barr v. Am. Ass'n of Political Consultants,

      140 S. Ct. 2335, 2343 (2020).

      2.       Plaintiff Stewart Abramson (“Plaintiff”) brings this action under the TCPA

      alleging Josco Energy USA, LLC, sent him and other putative class members pre-
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recorded telemarketing calls for purposes of promoting their goods and services without

their prior express written consent.

3.       Because the calls were transmitted using technology capable of generating

thousands of similar calls per day, Plaintiff brings this action on behalf of a proposed

nationwide class of other persons who were sent the same illegal telemarketing call.

4.       A class action is the best means of obtaining redress for the Defendant’s illegal

telemarketing and is consistent both with the private right of action afforded by the TCPA

and the fairness and efficiency goals of Rule 23 of the Federal Rules of Civil Procedure.

                                         Parties

5.       Plaintiff Stewart Abramson is a Pennsylvania resident in this District.

6.       Defendant Josco Energy USA, LLC is a foreign limited liability company that is

registered to do business in the state of Pennsylvania.

                                 Jurisdiction & Venue

7.       The Court has subject-matter jurisdiction under 28 U.S.C. § 1331 because the

Plaintiff’s claims arise under federal law.

8.       The Defendant is subject to personal jurisdiction as it (a) made calls into this

District and (b) is registered to do business in this District.

9.       Venue is proper under 28 U.S.C. § 1391(b)(2) because a substantial part of the

events or omissions giving rise to the claim occurred in this District, as the automated

calls to the Plaintiff were sent into this District.



                     The Telephone Consumer Protection Act



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      10.     In 1991, Congress enacted the TCPA to regulate the explosive growth of the

      telemarketing industry. In so doing, Congress recognized that “[u]nrestricted

      telemarketing . . . can be an intrusive invasion of privacy [.]” Telephone Consumer

      Protection Act of 1991, Pub. L. No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. § 227).

The TCPA Prohibits Automated Telemarketing Calls

      11.     The TCPA makes it unlawful to make any call (other than a call made for

      emergency purposes or made with the prior express consent of the called party) using an

      automatic telephone dialing system or an artificial or prerecorded voice to any telephone

      number assigned to a cellular telephone service or that is charged per the call. See 47

      U.S.C. § 227(b)(1)(A)(iii).

      12.     The TCPA provides a private cause of action to persons who receive calls in

      violation of 47 U.S.C. § 227(b)(1)(A) or 47 U.S.C. § 227(b)(1)(B). See 47 U.S.C. §

      227(b)(3).

      13.     According to findings by the Federal Communication Commission (“FCC”), the

      agency Congress vested with authority to issue regulations implementing the TCPA, such

      calls are prohibited because, as Congress found, automated or prerecorded telephone calls

      are a greater nuisance and invasion of privacy than live solicitation calls, and such calls

      can be costly and inconvenient.

      14.     In 2013, the FCC required prior express written consent for all autodialed or

      prerecorded telemarketing calls (“robocalls”) to wireless numbers and residential lines.

      Specifically, it ordered that:




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[A] consumer’s written consent to receive telemarketing robocalls must be signed
and be sufficient to show that the consumer: (1) received “clear and conspicuous
disclosure” of the consequences of providing the requested consent, i.e., that the
consumer will receive future calls that deliver prerecorded messages by or on
behalf of a specific seller; and (2) having received this information, agrees
unambiguously to receive such calls at a telephone number the consumer
designates.[] In addition, the written agreement must be obtained “without
requiring, directly or indirectly, that the agreement be executed as a condition of
purchasing any good or service.[]”
15.     In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of

1991, 27 F.C.C. Rcd. 1830, 1844 (2012) (footnotes omitted).



                              Factual Allegations

16.    Josco Energy provides energy services to consumers.

17.    Josco Energy uses telemarketing to promote its products and solicit new clients.

18.    These telemarketing efforts include the use of automated calls to send prerecorded

messages.

19.    On September 15, 2021, the Plaintiff received a prerecorded telemarketing call on

his cellular telephone number (412) XXX-5679.

20.    That number is listed on the National Do Not Call Registry.

21.    This number is utilized for personal use.

22.    This number is not associated with a business or used for business purposes.

23.    The call began with the pre-recorded message:

Hello. This is an apology call from your utility company. It has come to our
knowledge that you have been paying more than your consumption from previous
few months. You will be reimbursed [by fifty dollars] along with thirty five
percent discount on your electricity and gas bill. Please press one to get your
reimbursement




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24.    Plaintiff pressed one on his telephone in response to the pre-recorded message so

that he could properly identify the calling party.

25.    The agent informed Plaintiff that his name was “Brian Parker” and that he was

calling with an offer to enroll the Plaintiff for an electric supplier named Josco Energy.

26.    To verify the identity of the calling party, Plaintiff agreed to participate in a

recorded verification process.

27.    The Plaintiff was subsequently transferred to the Josco Energy recorded

verification system.

28.    At the end of the recorded verification process the Plaintiff was provided the

verification number “00633765”.

29.    Plaintiff and the other call recipients were harmed by these calls. They were

temporarily deprived of legitimate use of their phones because the phone line was tied up,

they were charged for the calls and their privacy was improperly invaded.

30.    Moreover, these calls injured Plaintiff because they were frustrating, obnoxious,

annoying, were a nuisance and disturbed the solitude of Plaintiff and the class.



                 Class Action Statement Pursuant to LCvR 23

31.    Plaintiff brings this action on behalf of himself and the following Class (the

“Class”) pursuant to Federal Rule of Civil Procedure 23.

32.    Plaintiff proposes the following Class definition, subject to amendment as

appropriate:




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Robocall Class: All persons within the United States: (1) to whose cellular telephone
number or other number for which they are charged for the call (2) Defendant (or an
agent acting on behalf of Defendant) placed a telemarketing call (3) within the four years
prior to the filing of the Complaint (4) using an identical or substantially similar pre-
recorded message used to place telephone calls to Plaintiff.

33.       Plaintiff is a member of this class and will fairly and adequately represent and

protect the interests of this class as he has no interests that conflict with any of the class

members.

34.       Excluded from the Class are counsel, the Defendant, and any entities in which the

Defendant has a controlling interest, the Defendant’s agents and employees, any judge to

whom this action is assigned, and any member of such judge’s staff and immediate

family.

35.       Plaintiff and all members of the Class have been harmed by the acts of the

Defendant, including, but not limited to, the invasion of their privacy, annoyance, waste

of time, the use of their telephone power and network bandwidth, and the intrusion on

their telephone that occupied it from receiving legitimate communications.

36.       This Class Action Complaint seeks injunctive relief and money damages.

37.       The Class as defined above are identifiable through the Defendant’s dialer

records, other phone records, and phone number databases.

38.       Plaintiff does not know the exact number of members in the Class, but Plaintiff

reasonably believes Class members number, at minimum, in the hundreds in each class.

39.       The joinder of all Class members is impracticable due to the size and relatively

modest value of each individual claim.




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40.    Additionally, the disposition of the claims in a class action will provide

substantial benefit to the parties and the Court in avoiding a multiplicity of identical suits.

41.    There are well defined, nearly identical, questions of law and fact affecting all

parties. The questions of law and fact, referred to above, involving the class claims

predominate over questions which may affect individual Class members.

42.    There are numerous questions of law and fact common to Plaintiff and to the

proposed Class, including but not limited to the following:

       (a) Whether the Defendant used pre-recorded message to send telemarketing
           calls;

       (b) whether Defendant made calls to Plaintiff and members of the Class without
           first obtaining prior express written consent to make the calls;

       (c) whether Defendant’s conduct constitutes a violation of the TCPA; and

       (d) whether members of the Class are entitled to treble damages based on the
           willfulness of Defendant’s conduct.

43.    Further, Plaintiff will fairly and adequately represent and protect the interests of

the Class. Plaintiff has no interests which are antagonistic to any member of the Class.

44.    Plaintiff has retained counsel with substantial experience in prosecuting complex

litigation and class actions, and especially TCPA class actions. Plaintiff and his counsel

are committed to vigorously prosecuting this action on behalf of the other members of the

Class, and have the financial resources to do so.

45.    Common questions of law and fact predominate over questions affecting only

individual class members, and a class action is the superior method for fair and efficient

adjudication of the controversy. The only individual question concerns identification of




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class members, which will be ascertainable from records maintained by Defendant and/or

its agents.

46.     The likelihood that individual members of the Class will prosecute separate

actions is remote due to the time and expense necessary to prosecute an individual case.

47.     Plaintiff is not aware of any litigation concerning this controversy already

commenced by others who meet the criteria for class membership described above.


                           FIRST CAUSE OF ACTION

                Violation of the Telephone Consumer Protection Act
                 47 U.S.C. 227(b) on behalf of the Robocall Class


48.     Plaintiff incorporates the allegations from all previous paragraphs as if fully set

forth herein.

49.     The foregoing acts and omissions of Defendant and/or their affiliates, agents, and/

or other persons or entities acting on Defendant’s behalf constitute numerous and

multiple violations of the TCPA, 47 U.S.C. § 227, by making calls, except for emergency

purposes, to the cellular telephone numbers of Plaintiff and members of the Class

delivering pre-recorded messages.

50.     As a result of Defendant’s and/or its affiliates, agents, and/or other persons or

entities acting on Defendant’s behalf’s violations of the TCPA, 47 U.S.C. § 227, Plaintiff

and members of the Class presumptively are entitled to an award of $500 in damages for

each and every call made to their residential or cellular telephone numbers using an




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       artificial or prerecorded voice in violation of the statute, pursuant to 47 U.S.C. § 227(b)

       (3)(B).

       51.       If the Defendant’s conduct is found to be knowing or willful, the Plaintiff and

       members of the Class are entitled to an award of up to treble damages.

       52.       Plaintiff and members of the Class are also entitled to and do seek injunctive

       relief prohibiting Defendant and/or its affiliates, agents, and/or other persons or entities

       acting on Defendant’s behalf from violating the TCPA, 47 U.S.C. § 227, by making calls,

       except for emergency purposes, to any cellular telephone numbers using an artificial or

       prerecorded voice in the future.



                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the

following relief:

       A.        Injunctive relief prohibiting Defendant from calling telephone numbers

       advertising their goods or services, except for emergency purposes, using a pre-record

       message in the future;

       B.        That the Court enter a judgment awarding Plaintiff and all class members

       statutory damages of $500 for each violation of the TCPA and $1,500 for each knowing

       or willful violation; and

       C.        An order certifying this action to be a proper class action pursuant to Federal Rule

       of Civil Procedure 23, establishing an appropriate Class the Court deems appropriate,




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finding that Plaintiff is a proper representative of the Class, and appointing the lawyers

and law firms representing Plaintiff as counsel for the Class;

D.      Such other relief as the Court deems just and proper.

                                JURY DEMAND

Plaintiff requests a jury trial as to all claims of the complaint so triable.


                                Plaintiff,
                                By Counsel,

                                By: /s/ G. Clinton Kelley
                                G. Clinton Kelley
                                304 Ross Street, 7th Floor
                                Pittsburgh, PA 15219
                                Telephone: (412) 454-5599
                                E-mail: gckesq@gmail.com

                                Anthony I. Paronich
                                Paronich Law, P.C.
                                350 Lincoln Street, Suite 2400
                                Hingham, MA 02043
                                (508) 221-1510
                                anthony@paronichlaw.com
                                Subject to Pro Hac Vice




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